Mark Cole, et al. v. Colonial Penn Life Insurance Company et al. (State Case No.: 23CV012045)




                                Exhibit
                                  D




DEFENDANT COLONIAL PENN LIFE INSURANCE COMPANY’S NOTICE OF REMOVAL
                                                                                       Court Use Only
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF SACRAMENTO
COURTHOUSE ADDRESS:
Gordon D. Schaber Superior Court
720 9th Street, Sacramento, CA 95814
PLAINTIFF/PETITIONER:
Mark Cole et al
DEFENDANT/RESPONDENT:
Colonial Penn Life Insurance Company et al
                  NOTICE OF CASE ASSIGNMENT                                 CASE NUMBER:
              AND CASE MANAGEMENT CONFERENCE                                23CV012045
                    (UNLIMITED CIVIL CASE)

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                                     NOTICE OF CASE ASSIGNMENT

Pursuant to rule 3.734 of the California Rules of Court, this action is hereby assigned for limited purposes
to the judicial officers indicated below:

        PURPOSE                  ASSIGNED JUDGE                 COURT LOCATION             DEPARTMENT
    LAW & MOTION                Christopher E. Krueger            Hall of Justice              54

 CASE MANAGEMENT                Kenneth C. Mennemeier           Gordon D. Schaber                  38
     PROGRAM                                                      Superior Court


Please refer to Chapter Two – Parts 3 and 4 of the Sacramento Superior Court Local Rules and the
Court’s website for additional filing instructions and hearing reservation information.



                           NOTICE OF CASE MANAGEMENT CONFERENCE
Hearing Date
The above entitled action has been set for a case management conference at 8:30 AM on November 1,
2024 in Department 38 in accordance with California Rules of Court 3.722. You must be familiar with the
case and fully prepared to participate effectively in the case management conference.
Case Management Statement
All parties must file and serve a case management statement at least 15 calendar days before the case
management conference. Parties are encouraged to file a single joint case management statement.
Minimum Requirements
Prior to the filing of the case management statement, the parties should have done the following:
    •   Served all parties named in the complaint within 60 days after the summons has been issued
    •   Ensured that all defendants and cross-defendants have answered, been dismissed, or had their
        defaults entered
    •   Met and conferred with all parties as required by CRC 3.724 to discuss and resolve issues set
        forth therein.



                                   NOTICE OF CASE ASSIGNMENT
                               AND CASE MANAGEMENT CONFERENCE
                                     (UNLIMITED CIVIL CASE)
 SHORT TITLE: COLE, et al. vs COLONIAL PENN LIFE
                                                                         CASE NUMBER: 23CV012045
 INSURANCE COMPANY, et al.

Tentative Ruling
Following its review of the case management statement(s), the court may determine that a case
management conference is not necessary. To determine whether an appearance is required, the parties
must check the court’s tentative rulings after 2:00 p.m. on the Court day before the Friday calendar by
accessing the court’s internet website at www.saccourt.ca.gov
Remote Appearances
Unless ordered to appear in person by the court, parties may appear remotely either telephonically or by
video conference via the Zoom video/audio conference platform with notice to the court and all other
parties in accordance with Code of Civil Procedure 367.75. If appearing remotely, parties are required to
participate in their hearing using a device that has video and/or audio capability (i.e. computer,
smartphone, or tablet). Although remote participation is not required, the court will presume all parties
are appearing remotely for non-evidentiary civil hearings.
Certification Filed in Lieu of Case Management Statement
If parties in the action file a certification on a form provided by the court at least 15 calendar days prior to
the date of the case management conference that the case is short cause (five hours or less of trial
time), that the pleading stage is complete and that the case will be ready for trial within 60 days, the case
will be exempted from any further case management requirements and will be set for trial within 60-120
days. The certification shall be filed in lieu of a case management statement.
Case Management Orders
At the case management conference, the court will consider whether the case should be ordered to
judicial arbitration or referred to other forms of Alternative Dispute Resolution. Whether or not a case
management conference is held, the court will issue a case management order shortly after the
scheduled conference date.
Service of Notice of Case Assignment and Case Management Conference
Unless otherwise ordered by the court, plaintiff shall serve a copy of this notice on any party to the
complaint appearing after the court issued this notice. The cross-complainant shall have the same
obligation with respect to the cross-complaint.
Compliance
Failure to comply with this notice or to appear at the case management conference may result in the
imposition of sanctions (including dismissal of the case, striking of the answer, or payment of money).
Continuances
Case management conference(s) will not be continued except on a showing of good cause. If your case
management conference is continued on motion or by the court on its own motion all parties shall file and
serve a new case management statement at least 15 calendar days before the continued case
management conference.




Dated: 11/21/2023                                      By:



                                   NOTICE OF CASE ASSIGNMENT
                               AND CASE MANAGEMENT CONFERENCE
                                     (UNLIMITED CIVIL CASE)
